        Case:
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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

  ELLEN MILLER
                                                              )
 Plaintiff                                                    )
                                                              )   Case Number: 1:18-cv-04353
 v.                                                           )
  ANDREW BALTERMAN                                            )   Judge: Robert M. Dow, Jr.
                                                              )
                                                              )
 Defendant                                                    )
                                                    NOTICE OF MOTION

 TO:        Christopher V. Langone

            clangone@langonebatson.com



 PLEASE TAKE NOTICE that on Thursday, August 30, 2018                at 9:15 a.m.   , or as soon
 thereafter as I may be heard, I shall appear before the Honorable Judge Robert M. Dow, Jr.
 or any judge sitting in his or her stead in Courtroom 2303                                  of the U.S. District Court of
 the Northern District of Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois and
 shall present the following motion attached hereto:

  Defendant's Motion to Dismiss Complaint for Lack of Subject Matter Jurisdiction
                                            CERTIFICATE OF SERVICE
I hereby certify that on August 24, 2018                    , I provided service to the person or persons listed

above by the following means: via the clerk's electronic filing system


 Signature:                                                                           Date: August 24, 2018


 Name (Print): Matthew D. Elster


 Address: Beermann LLP                                                                Phone: 312.621.9700

              161 N Clark Street #3000

              Chicago, IL 60601

Rev. 06/29/2016

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